        Case 4:04-cv-00452-MP-AK Document 12 Filed 05/16/05 Page 1 of 4



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION



SOLOMON ROBERTS,

              Plaintiff,

vs.                                                      4:04CV452-MMP/AK

JAMES V. CROSBY, et al,

              Defendants .

                                   /


                           REPORT AND RECOMMENDATION

       Plaintiff brings this cause pursuant to 42 U.S.C. §1983 alleging violation of

his First Amendment rights by James Crosby, Secretary of DOC, and Defendants

Frank Ontko and Bridgett Pelletier at Wakulla Correctional Institution. (Doc. 11).

He was ordered to amend his original complaint to be more specific about what

legal actions were thwarted by Defendants’ actions and to reconsider asserting

claims against James Crosby because his claims appeared to be based on

Crosby’s supervisory authority only. (Doc. 10). Plaintiff filed a new complaint (doc.

11), but has still failed to state a claim for relief.
       Case 4:04-cv-00452-MP-AK Document 12 Filed 05/16/05 Page 2 of 4



       A court may dismiss a case proceeding in forma pauperis if the complaint

fails to state a claim upon which relief may be granted. 28 U.S.C. § 1915A. Pro se

complaints are to be held to a less stringent standard than those drafted by an

attorney. Wright v. Newsome, 795 F.2d 964, 967 (11th Cir. 1986), citing Haines v.

Kerner, 404 U.S. 519, 520-1, 92 S. Ct. 594, 596, 30 L. Ed. 2d 652 (1972).

However, a plaintiff is still required to "set forth factual allegations, either direct or

inferential, respecting each material element necessary to sustain recovery under

some actionable legal theory." Worst v. Hart, 1995 WL 431357, *2 (N.D. Fla.

1995). It cannot be assumed that a Plaintiff will prove facts which have not been

alleged. Quality Foods de Centro America, 711 F.2d at 995, citing Associated

General Contractors of California, Inc. v. California State Council of Carpenters,

459 U.S. 519, 103 S. Ct. 897, 902, 74 L. Ed. 2d 723 (1983). Hence, even though

the pleading standard for a pro se complaint is quite liberal, “bald assertions and

conclusions of law will not suffice.” Leeds v. Meltz, 85 F.3d 51, 53 (2d Cir. 1996).

Additionally, the court's duty to construe a plaintiff's complaint liberally is not the

equivalent of a duty to rewrite it. Peterson v. Atlanta Housing Auth., 998 F.2d 904,

912 (11th Cir. 1993).

       As to Defendant Crosby, Plaintiff sues him because he is “chief policymaker”

for DOC, but has not alleged any policy which he contends caused the violations of

which he complains. He complains that Crosby is liable because he should have

known that his employees were violating Plaintiff’s rights, but this is again based

on Crosby’s supervisory authority as Secretary of the Florida Department of

Corrections, and this is not grounds for relief. See Polk County v. Dodson, 454

                                             2
       Case 4:04-cv-00452-MP-AK Document 12 Filed 05/16/05 Page 3 of 4



U.S. 312, 325, 102 S. Ct. 445, 70 L. Ed. 2d 509 (1981); Harvey v. Harvey, 949

F.2d 1127, 1129 (11th Cir. 1992), citing Monell v. Department of Social Services,

436 U.S. 658, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978). Thus, claims against

Defendant Crosby should be dismissed.

       Further, Plaintiff has yet to show what pending state court action was

delayed, hindered or otherwise affected by the actions he alleges Defendants

Ontko and Pelletier took against him. He states that Ontko refused him entry to

the law library one time because he was not on the “call out” sheet and refused to

make copies of a bar complaint he wanted to file against an attorney involved in his

post-conviction litigation. However, the First Amendment right to access is limited

to challenges to the length or conditions of confinement, not bar complaints. Lewis

v. Casey, 518 U.S. 343, 116 S. Ct. 2174, 135 L. Ed. 2d 606 (1996). See also

Johnson v. Avery, 393 U.S. 483, 89 S. Ct. 747, 21 L. Ed. 2d 718 (1969) (in context of

habeas petitions); Wolff v. McDonnell, 418 U.S. 539, 94 S. Ct. 2963, 41 L. Ed. 2d 935

(1974) (extending right to civil rights suits). Although Plaintiff discusses in detail what

the post conviction motions were about, he does not allege any injury resulting

from anything either defendant did with regard to this action. His claims against

Defendant Pelletier concern her alleged refusal to provide him pen and paper and

entry into the law library because he did not have a deadline. Plaintiff has not

explained how either incident caused him to default on a deadline for the pending

state court action. Without some injury, he has no claim under the First

Amendment. See Lewis, supra.



                                             3
       Case 4:04-cv-00452-MP-AK Document 12 Filed 05/16/05 Page 4 of 4



      In light of the foregoing, it is respectfully RECOMMENDED that Plaintiff’s

amended complaint, doc.11, be DISMISSED for failure to state a claim upon which

relief may be granted pursuant to 28 U.S.C. § 1915A(b).

      IN CHAMBERS at Gainesville, Florida, this       16th     Day of May, 2005.

                                         s/ A. KORNBLUM
                                         ALLAN KORNBLUM
                                         UNITED STATES MAGISTRATE JUDGE



                               NOTICE TO THE PARTIES

       A party may file specific, written objections to the proposed findings and
recommendations within 15 days after being served with a copy of this report and
recommendation. A party may respond to another party’s objections within 10 days after
being served with a copy thereof. Failure to file specific objections limits the scope of
review of proposed factual findings and recommendations.




                                           4
